












Petition for Writ of
Mandamus Dismissed and Memorandum Opinion filed April 22, 2010.

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In The

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Fourteenth Court of
Appeals

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NO. 14-10-00326-CR

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IN RE WILLIAM F. KENT, Relator

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ORIGINAL PROCEEDING

WRIT OF MANDAMUS

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MEMORANDUM
OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On April 2, 2010, Relator, William F. Kent, filed a petition
for writ of mandamus in this Court.&nbsp; See Tex. Gov’t Code Ann §22.221
(Vernon 2004); see also Tex. R. App. P. 52.1. &nbsp;In the petition, relator
asked this court to compel the Harris County District Attorney to release the
results of DNA testing purportedly performed in cause numbers 601019 and
577703.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This Court’s mandamus jurisdiction is governed by section
22.221 of the Texas Government Code. &nbsp;Section 22.221 expressly limits the
mandamus jurisdiction of the courts of appeals to:&nbsp; (1) writs against a
district court judge or county court judge in the court of appeals’ district,
and (2) all writs necessary to enforce the court of appeals’ jurisdiction.&nbsp;
Tex. Gov’t Code Ann. § 22.221 (Vernon 2004).&nbsp; Because the petition for writ of
mandamus is directed toward the Harris County District Attorney and is not
necessary to enforce this court’s jurisdiction, we have no jurisdiction.&nbsp; See
Tex. Gov’t Code Ann. § 22.221(b)(1).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, the petition for writ of mandamus is ordered
dismissed.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

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Panel
consists of Justices Anderson, Frost, and Seymore.

Do Not Publish — Tex. R. App.
P. 47.2(b).

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